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UNITED STATES COURT OF INTERNATIONAL TRADE                                         FORM 7A

Tesla, Inc.,


                                     Plaintiff,                                   20-03142
                                                                      Court No.
          v.
United States of America, et al.


                                      Defendant.


                                   NOTICE OF DISMISSAL

       PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(i) of the Rules of
the United States Court of International Trade, hereby dismisses this action.


Dated: __________________
       Sept. 28,2020

                                             __________________________________________
                                             Lynn Fischer Fox
                                                        Attorney for Plaintiff

                                             __________________________________________
                                             601 Massachusetts Avenue, NW
                                                               Street Address

                                             _Washington DC, 20001_______________
                                                     City, State and Zip Code

                                             __________________________________________
                                             (202) 942-5601
                                                            Telephone No.

                                      Order of Dismissal

      This action, having been voluntarily noticed for dismissal by plaintiff, is dismissed.

Dated: _____________________                 Clerk, U. S. Court of International Trade


                                             By: ________________________________
                                                            Deputy Clerk
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                                   Schedule to Notice of Dismissal

        Court Number(s)                                      Plaintiff(s) Name




                                           Order of Dismissal

       This action and those listed on the schedule set forth above, having been voluntarily
noticed for dismissal by plaintiff, are dismissed.



Dated: _____________________


                                                           Clerk, U. S. Court of International Trade



                                                         By: ________________________________
                                                                  Deputy Clerk



(As added Dec. 18, 2001, eff. Apr.1, 2002; Aug. 2, 2010, eff. Sept. 1, 2010.)
